Case 2:08-cr-00958-RHW Document76-3 Filed O

Dear Honorable Judge Robert H. Whaley,

My name is Paul Lumsdaine and l arn the owner of a i
in Pasadena. Califomia.. | was initially informed of Mr.
Febmary of this year by a colleague of mine who had
was producing while in prison. '

Crpitla’s

 

s aftenrrards'
atura| need;

.Aner meeting with Mr. orpuia in person numerous rim
impressed by his character. l was taken aback by his

situation with a positive attitude lt is an attitude that r even more j
situation he has iust endured. lt is an attitude that in 15 years ir
come to realize cannot be taught .

6/25/12 Peg

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June 24th, 2012

that operates

’ e talents in
noticed hmw Mr. Orpilla

l became
approach every
pressive given the

l this business l've

 

|n April ll offered him the job of creative director at my company. At`
me that due to the constraints of his RRC supervisio he was then~'
not honestly accept the position due to the inability to meet the rig
- industry faces during work periods
During these periods of time, l often would need
available for over a period of 48 hours as'we otten rk with'othen
contractors intemational|y_. He informed me, howev that he wou
from his halfway house in June and could accept the position after
underth‘is premise that l agmd to. hold the
expMd completion date, despite my need to ill the position i

to yon himtob

. Three days ago, l was informed by Mr. Orpilla that h
position due to an unforeseen addition to his _senten
- l write this letter.

. lt is under~_

_ Although |’ve known him for only a short period ofti

to be one of the most honest1 hard working men |’ve ver met l p
allow him this abilityto rebuild his lite on solid groun , with solid
and secure environment surrounded by people that

 

paul@labcoatmedia.oom
(626) 408-2633

 

 

 
  
  
 

'ition nti| .lune 28 ,

ave his and§ '

nder that he could -
us deadhnes this

that go late into th night and ' uld last for days.

continuously
nsuttanei and

be getting released
at time. lt was

a full week after his
iately. ‘

may not be ble to accept the

is circumstance that

, Mr. orpiiie has proven himself

with the courtto

